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 6                            IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8                                                )    No. CV-12-02468-PHX-NVW
     Marvin Randall                               )
 9                                                )
                 Plaintiff,                       )
10                                                )    ORDER
     vs.                                          )
11                                                )
     Progressive Financial Services, Inc.,        )
12                                                )
                 Defendant.                       )
13                                                )
                                                  )
14
15          The court has reviewed Plaintiff’s Application to Proceed in District Court Without
16   Prepaying Fees or Costs (Doc. 2).
17          IT IS ORDERED DENYING the application for leave to proceed in forma pauperis
18   without prepayment of costs or fees or the necessity of giving security therefore. Plaintiff
19   shall have 30 days from the entry of this Order to pay the filing fee of $350.00. The Clerk
20   of Court is directed to enter dismissal of this action without further notice if Plaintiff fails to
21   pay the filing fee of $350.00 within 10 days of the entry of this Order.
22          DATED this 16th day of November, 2012.
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